                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANET MONGE
                                                       Civil Action No.: 2:22-cv-02942-HB
                                    Plaintiff,
                    vs.

UNIVERSITY OF PENNSYLVANIA, et al.

                                    Defendant


                                           ORDER

        AND NOW, this ______ day of _______________, 2022, upon consideration of

the Motion to Dismiss First Amended Complaint filed by Defendant The Society of

Black Archaeologists, and any response(s) thereto, it is hereby ORDERED and

DECREED that said Preliminary Objections are SUSTAINED.

        (a)       Plaintiff’s First Amended Complaint is Dismissed With Prejudice as to

                  Defendant, The Society of Black Archeologists for lack of personal

                  jurisdiction.

IT IS FURTHER ORDERED IN THE ALTERNATIVE that;

        (a)       Count I (Defamation) of Plaintiff’s Amended Complaint is dismissed with

                  prejudice against Defendant, The Society of Black Archeologists, and;

        (b)       Count II (Defamation by Implication) of Plaintiff’s Amended Complaint is

                  dismissed with prejudice against Defendant, The Society of Black

                  Archeologists, and;




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        (c)       Count III (False Light) of Plaintiff’s Amended Complaint is dismissed

                  with prejudice against Defendant, The Society of Black Archeologists,

                  and;

        (d)        Count IV (Civil Aiding and Abetting) of Plaintiff’s Amended Complaint

                  is dismissed with prejudice against Defendant, The Society of Black

                  Archeologists, and;

        (e)       All allegations of recklessness, including but not limited to those in

                  paragraphs 185, 202, 214, and 221, and all corresponding claims for

                  punitive damages contained in Plaintiff’s Amended Complaint are hereby

                  stricken with prejudice.

                                                        BY THE COURT:



                                               _____________________________________
                                                                                J.




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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANET MONGE
                                                         Civil Action No.: 2:22-cv-02942-HB
                                  Plaintiff,
                  vs.

UNIVERSITY OF PENNSYLVANIA, et al.

                                   Defendant


          MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
               AS TO THE SOCIETY OF BLACK ARCHAEOLOGISTS

         Defendant, The Society of Black Archaeologists (hereinafter “The Society of Black

Archaeologists “ or the “Society”), by and through their attorneys, Salmon Ricchezza Singer &

Turchi, LLP, hereby submits this Motion to Dismiss Plaintiff’s First Amended Complaint

Pursuant to Rule 12(b)(2). In the alternative, The Society moves for dismissal under Rule

12(b)(6). The Society relies on the accompanying Memorandum of Law in Support of it Motion

to Dismiss Plaintiff’s Amended Complaint.

         As set forth in the Memorandum of Law, Plaintiff has failed to properly plead that this

Court has jurisdiction over the Society. Moreover, Plaintiff has failed to state a claim as to the

Society for her claims for defamation, defamation by implication, false light, civil aiding and

abetting or for her demand for punitive damages.

         Accordingly, for all of the reasons set forth in the accompanying Memorandum of Law,

Defendant, The Society of Black Archaeologists respectfully requests that this Court dismiss

Plaintiff’s Amended Complaint for lack of jurisdiction, or in the alternative, for failure to state a

claim.




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                  Respectfully Submitted,


                  SALMON RICCHEZZA SINGER & TURCHI LLP

                                /s/ Michele Weckerly
                  By:
                        Joseph L. Turchi, Esq.
                        Michele L. Weckerly, Esquire
                        Attorneys for Defendant,
                        The Society of Black Archaeologists


Dated: 8/12/22




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                                CERTIFICATE OF SERVICE

        Undersigned Counsel for Defendant, The Society of Black Archaeologists hereby

certifies that the foregoing Motion to Dismiss, was served upon counsel via electronic filing.



                                                                    /s/ Michele Weckerly
                                                     By:                 ______________
                                                            Michele L. Weckerly, Esquire


Dated: August 12, 2022




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                              CERTIFICATE OF COMPLIANCE

        Undersigned Counsel for Defendant, The Society of Black Archaeologists hereby

certifies that foregoing Motion to Dismiss complies with Local Rule 5.1.3 regarding personal

identification information.



                                                                /s/ Michele Weckerly
                                                 By:    _______________
                                                        Michele L. Weckerly, Esquire


Dated: August 12, 2022




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